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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               FORT LAUDERDALE DIVISION


   Wood Mountain Fish LLC; Portland Hunt-             Civil No. 19-22128-CIV-SMITH/LOUIS
   Alpine Club, LLC; Prime Steakhouse; Mamme
   Inc.; Rocca Kurt’s Brothers Inc.; Stephen T.
   Deangelis, Inc.; Amy Mehaffey; Nautical
   Okoboji LLC; People’s Food Cooperative,
   Inc.; Classic City Catering, Inc.; and Bama
   Seafood, Inc., individually and on behalf of all
   others similarly situated,

                         Plaintiffs,

          v.

   Mowi ASA (f/k/a Marine Harvest ASA); Mowi
   USA, LLC; Mowi Canada West, Inc.; Mowi
   Ducktrap LLC; Grieg Seafood ASA; Grieg
   Seafood BC Ltd.; Sjór AS (f/k/a Ocean Quality
   AS); Grieg Seafood Sales North America, Inc.
   (f/k/a Ocean Quality North America, Inc.);
   Grieg Seafood Sales USA, Inc. (f/k/a Ocean
   Quality USA Inc.); Grieg Seafood Sales
   Premium Brands, Inc. (f/k/a Ocean Quality
   Premium Brands, Inc.); SalMar ASA; Lerøy
   Seafood AS; Lerøy Seafood USA Inc.; Cermaq
   Group AS; Cermaq US LLC; Cermaq Canada
   Ltd.; and Cermaq Norway AS,

                         Defendants.



     DEFENDANTS’ JOINT MOTION TO DISMISS INDIRECT PURCHASER CLASS
     ACTION COMPLAINTS IN ALL CASES PURSUANT TO FED. R. CIV. P. 12(B)(1)
             AND (6) AND INCORPORATED MEMORANDUM OF LAW
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                                        PRELIMINARY STATEMENT
           In this action, the Indirect Purchaser Plaintiffs (“IPPs”) purport to bring federal injunctive
   and state-law damages claims on behalf of classes of indirect purchasers of salmon and salmon
   products from 32 different states, the District of Columbia, and Guam. The IPPs’ allegations are
   substantively identical to the allegations put forward by the Direct Purchaser Plaintiffs (“DPPs”)
   in a parallel lawsuit, In re Farm-Raised Salmon and Salmon Products Antitrust Litigation, that is
   also pending in this District. Although the In re Farm-Raised Salmon Court denied Defendants’
   motion to dismiss in that case, that ruling does not shield the IPPs’ claims from dismissal
   because the IPPs’ claims suffer from unique and dispositive flaws.1
           Unlike the DPPs, the IPPs did not purchase salmon or salmon products from Defendants.
   Rather, the IPPs say they purchased salmon or salmon products from non-Defendants. The IPPs
   allege that Defendants conspired to raise prices for salmon and that these alleged overcharges
   were “passed on” to them when they purchased salmon from non-Defendant wholesalers. These
   claims fail for at least five reasons:
           First, the IPPs lack Article III standing to assert many of their claims because they lack a
   named plaintiff to represent the proposed class in many states. Infra § I.
           Second, the IPPs have not plausibly alleged that Defendants’ conduct proximately caused
   their alleged injuries and more specifically lack antitrust standing because they have failed to
   plead that they are efficient enforcers of the antitrust laws (they are not). Infra § II.A.
           Third, the IPPs lack Article III standing as to their federal claim for injunctive relief and
   as to damages claims in all states and territories because they fail to plausibly allege an injury-in-
   fact that is fairly traceable to Defendants’ alleged conduct. Infra § I.B.
           Fourth, the IPPs’ claims as to many states are barred by the Illinois Brick doctrine, which
   precludes indirect purchasers like the IPPs from recovering under the antitrust laws. Infra § II.C.
           Finally, the IPPs’ claims under several state consumer protection laws fail because the
   IPPs’ allegations fail to satisfy the requirements of those statutes, including statutes that preclude
   resellers from asserting claims. Infra § III.


   1
      Defendants maintain that the allegations in both actions fail to plausibly allege a conspiracy,
   and otherwise fail to state a claim and are barred by the statutes of limitations. Defendants do
   not focus on these defenses here but reserve the right to raise these and related defenses at class
   certification, summary judgment, before and at trial, and on appeal if so required.
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                                            BACKGROUND
          The IPPs filed this lawsuit in 2019 following news reports that the European Commission
   (and later, the U.S. Department of Justice) were investigating the Norwegian salmon industry.
   (See Second Amended Complaint, or “SAC,” ¶¶ 86, 95.) The IPPs allege that Defendants
   conspired to fix the price of farmed Atlantic Salmon. (SAC ¶ 8.) The IPPs allege that
   Defendants used the NASDAQ Salmon Index (the “NQSalmon index”), created in 2013, to
   manipulate prices. (See id. ¶ 104.) “Index Contributors,” many of whom are not Defendants,
   report weekly prices to the NQSalmon index. (Id. ¶ 105.) The IPPs also allege that NQSalmon
   is monitored by an Advisory Panel of Index Contributors, and certain Defendants were
   purportedly members of the Panel. (Id. ¶¶ 106-107.) As the IPPs recognize, two Defendants—
   Lerøy and Grieg—were never members of the Advisory Panel. (See id. ¶ 107.)
          The IPPs also theorize that Defendants sold salmon to their subsidiaries in order to
   manipulate the market through the NQSalmon index. (Id. ¶ 103.) For example, the IPPs allege
   that Mowi subsidiary Morpol purchased salmon from Mowi and other Defendants and reported
   the transactions to the NQSalmon index in order to drive up prices. (Id.)
          The IPPs also allege that, in the wake of Russia’s 2014 ban on Norwegian salmon
   imports, salmon prices should have fallen, but prices remained the same and later increased
   because Defendants “artificially stabilized” and increased prices “[t]hrough cooperation and
   coordination.” (See id. ¶¶ 1, 9, 138-139.) However, these buzzword allegations conflict with the
   IPPs’ own allegations, as the chart cited by the IPPs as evidence of alleged cooperation among
   the Defendants shows a downward price trend from 2013 through the time of the Russian ban
   and into 2015. (Id. ¶ 139.)
          The IPPs further allege that Defendants’ communications and meetings with each other
   are evidence of alleged cooperation. (See id. ¶¶ 121-137, 150-153.) In addition to assertions of
   informal communications between Defendants, the IPPs allege that Defendants’ involvement in
   trade associations “added to their opportunities to communicate.” (Id. ¶ 155.) For example, the
   IPPs allege that Defendants “had private opportunities to reach cooperative agreements” (Id.
   ¶ 156) through Defendants’ participation in the Global Salmon Initiative, which was created to
   “break down barriers to environmental improvement in the salmon aquaculture sector,” (Id.
   ¶ 157), and the Norwegian Seafood Council, though the IPPs do not allege that any specific
   agreements to coordinate on salmon prices were actually made at trade association meetings.



                                                   2
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          The IPPs make little effort, however, to allege how they were harmed by the alleged
   conspiracy. The IPPs say they are businesses such as restaurants and grocers that bought
   salmon, or at least unspecified products derived from salmon, but they offer no facts about those
   purchases, how they can be traced to Defendants, or why they believe they were overcharged. In
   lockstep, each Plaintiff offers the same generic allegation of injury: “[d]uring the Class Period,
   Plaintiff purchased farm-raised salmon indirectly from one or more of the Defendants and has
   suffered monetary loss as a result of the antitrust violations alleged herein.” (SAC ¶¶ 18-28.) As
   explained below, these barebones allegations cannot support the IPPs’ claims.
                                               ARGUMENT
   I.     THE IPPS’ CLAIMS UNDER THE LAWS OF 23 STATES AND TERRITORIES WITHOUT
          NAMED PLAINTIFFS MUST BE DISMISSED FOR LACK OF ARTICLE III STANDING
          The IPPs’ claims on behalf of Plaintiffs from the following states and territories fail for
   lack of Article III standing because the IPPs lack a named class representative for them:
   Arizona, Arkansas, Guam, Hawaii, Illinois, Kansas, Michigan, Mississippi, Missouri, Montana,
   Nebraska, Nevada, New Hampshire, New Mexico, North Dakota, Oregon, Rhode Island, South
   Carolina, South Dakota, Tennessee, Utah, Vermont, and West Virginia. (Counts III-IV, VIII-XI,
   XIII, XVI, XVIII-XXV, and XXVIII-XXXVI.)
          The Eleventh Circuit has held that “each claim must be analyzed separately, and a claim
   cannot be asserted on behalf of a class unless at least one named plaintiff has suffered the injury
   that gives rise to that claim.” Prado-Steiman ex rel. Prado v. Bush, 221 F.3d 1266, 1280 (11th
   Cir. 2000).2 Thus, at least one named plaintiff must allege claims arising under the law of each
   state for which the IPPs assert a claim. See In re Zantac (Ranitidine) Prod. Liab. Litig., No. 20-
   MD-2924, 2020 WL 7866674, at *17 (S.D. Fla. Dec. 31, 2020) (“Cases within this District are
   clear” that “a named plaintiff lacks standing to assert claims on behalf of putative class members
   whose claims arise under other states’ laws.”).3 Courts in this District routinely dismiss state-law
   antitrust claims where none of the named plaintiffs reside or sustained an injury in that state.

   2
      Internal citations and quotations omitted throughout, except where noted.
   3
      See also Feldman v. BRP US, Inc., No. 17-CIV-61150, 2018 WL 8300534, at *6 (S.D. Fla.
   Mar. 28, 2018) (“[N]amed plaintiffs in class actions have, time and again, been prohibited from
   asserting claims under a state law other than that which the plaintiff’s own claim arises.”); In re:
   Takata Airbag Prod. Liab. Litig., No. 14-24009-CV, 2016 WL 1266609, at *4 (S.D. Fla. Mar.
   11, 2016) (“A named plaintiff lacks standing to assert legal claims on behalf of a putative class
   pursuant to state law under which the named plaintiff’s own claims do not arise.”).


                                                    3
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   See, e.g., In re Terazosin Hydrochloride Antitrust Litig., 160 F. Supp. 2d 1365, 1371 (S.D. Fla.
   2001) (dismissing antitrust claims from ten states because “the named plaintiffs cannot rely on
   unidentified persons within those states to state a claim for relief”).4
          This case should be no exception.5 Although the Complaint does not adequately allege
   Article III standing for any of Plaintiffs’ claims, see § II.B infra, under Rules 12(b)(1) and (6),
   the Court should, at a minimum, dismiss the IPPs’ claims for the 23 states and territories for
   which the IPPs lack a proposed class representative. This failure warrants dismissal now—the
   issue cannot be deferred until class certification. See Sanchez-Knutson v. Ford Motor Co., No.
   14-61344, 2015 WL 11197772, at *3 (S.D. Fla. July 22, 2015) (“As standing is a threshold issue,
   addressing the issue of standing at the motion to dismiss phase of the litigation, rather than
   waiting for the class certification phase, is not premature.”); In re Checking Account Overdraft
   Litig., 694 F. Supp. 2d at 1324 (“The issue of Article III standing must be resolved for each
   named plaintiff before … class certification.”).
   II.    THE IPPS’ ALLEGED INJURIES AND DAMAGES ARE TOO INDIRECT AND REMOTE
          A.      The IPPs’ State Claims Fail to Plausibly Allege the Necessary Elements of
                  Causation and Antitrust Standing
          The IPPs fail to plausibly allege causation and that they have antitrust standing across all
   state claims for two separate reasons. First, their threadbare injury allegations fall far short of
   plausibly satisfying the causation and damages elements of their state antitrust and other
   statutory claims. Second, they do not plausibly allege that they are efficient enforcers, as
   required in many states.




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      See also Barron v. Snyder’s-Lance, Inc., 13–62496–CIV–LENARD/GOODMAN, 2015 WL
   11182066, at *2 (S.D. Fla. Mar. 20, 2015) (dismissing claims from six states because “none of
   the remaining party Plaintiffs purchased Defendant’s Products in those states”); In re Checking
   Account Overdraft Litig., 694 F. Supp. 2d 1302, 1325 (S.D. Fla. 2010) (dismissing “all state
   statutory claims where no named plaintiff resides in the state from which the claim is asserted”).
   5
      In their SAC, the IPPs added five new Plaintiffs, including from four states for which the First
   Amended Complaint (“FAC”) had no named Plaintiff. (Compare FAC at ¶¶ 18-24 with SAC at
   ¶¶ 18-28). The IPPs were thus plainly aware of this defect and, indeed, Defendants alerted the
   IPPs to it and asked whether the IPPs needed additional time to identify more named Plaintiffs.
   The IPPs declined to do so. In light of this, the IPPs’ claims for the 23 states and territories for
   which they lack a class representative should be dismissed with prejudice, as the IPPs have had
   more than two years to identify named Plaintiffs for those jurisdictions and have failed to do so.


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                  1.      The IPPs Do Not Plausibly Allege Proximate Causation
          In all jurisdictions, actual damages and proximate causation are required elements of an
   indirect purchaser’s claim for damages. E.g., In re Florida Cement & Concrete Antitrust Litig.,
   746 F. Supp. 2d 1291, 1321 (S.D. Fla. 2010) (noting that claims under the Florida Uniform
   Deceptive Trade Practices Act (“FUDTPA”) require “actual damages proximately caused by the
   unlawful conduct”).6 Courts “generally presume that a statutory cause of action is limited to
   plaintiffs whose injuries are proximately caused by violations of the statute.” Lexmark Int’l, Inc.
   v. Static Control Components, Inc., 572 U.S. 118, 132 (2014).
          Proximate cause is likewise required for claims under the Clayton Act. Assoc. Gen.
   Contractors of Cal., Inc. v. Cal. State Council of Carpenters, 459 U.S. 519, 533 (1983)
   (“antitrust damages litigation [is] subject to constraints comparable to well-accepted common-
   law rules” including the “doctrine … [of] proximate cause”); see also Universal Brands, Inc. v.
   Phillip Morris, Inc., 546 F.2d 30, 34 (5th Cir. 1977) (“[T]he pivotal issue for standing [to seek
   injunctive relief] under [Clayton Act] § 16 is proximate cause[.]”). Importantly, this proximate
   cause requirement is more stringent than what Article III requires. See Cordoba v. DIRECTV
   LLC, 942 F.3d 1259, 1271 (11th Cir. 2019). “If a plaintiff’s allegations, taken as true, are
   insufficient to establish proximate causation, then the complaint must be dismissed[.]” Lexmark,
   572 U.S. at 134 n.6.
          The IPPs’ complaint fails to provide any facts showing proximate causation or actual
   injury for any of their causes of action. Judge Altonaga dismissed similarly deficient indirect
   purchaser claims in Florida Cement & Concrete. The indirect purchasers in Florida Cement &
   Concrete asserted statutory claims under FDUTPA and alleged as follows:
          During the Class Period, [Plaintiff] Sterling purchased Cement and/or Concrete
          indirectly from one or more wholly owned subsidiaries of the Defendants and was
          damaged as a result of Defendants’ unlawful conduct. Sterling indirectly purchased
          Concrete for construction projects in Bay, Okaloosa, and Walton Counties in
          Florida during the Class Period. As a result, Plaintiff paid supra-competitive and
          artificially inflated prices for Cement and Concrete and has been injured by reason
          of the illegal conduct alleged herein.

   6
      See also Lorix v. Crompton Corp., 736 N.W.2d 619, 631 (Minn. 2007) (holding that
   “[s]tanding under Minnesota antitrust law must be defined by some prudential limits informed by
   foreseeability, proximate cause, remoteness, and relation of the injury to the purposes of the
   antitrust law; otherwise, almost any antitrust violation would provide almost any citizen with a
   cause of action”).


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   746 F. Supp. 2d at 1321-22. Similarly, the IPPs here allege:
          Plaintiff Wood Mountain Fish LLC (“Wood Mountain Fish”) is a Massachusetts
          company that distributes fish and seafood. Wood Mountain Fish is headquartered
          at 11 Bluff Head Road, Sharon, MA 02067. During the Class Period, Plaintiff
          purchased farm-raised salmon indirectly from one or more of the Defendants and
          has suffered monetary loss as a result of the antitrust violations alleged herein.
   (SAC ¶ 18.) Although the Florida Cement & Concrete plaintiffs pleaded more specific
   allegations than the IPPs do here, the court concluded that “[t]hese allegations amount to
   unadorned, the defendant-unlawfully-harmed-me allegation[s], which contain no factual content
   that allows the court to draw the reasonable inference the Defendants’ conspiracy caused any
   injury to these Plaintiffs[.]” 746 F. Supp. 2d at 1322. As the court explained, “[t]he [complaint]
   does not allege sufficient information about what particular products were purchased from which
   Defendants, or whether these particular indirect purchasers absorbed the alleged price increases
   or passed them on to their customers. Even before Twombly, allegations like the ones in the
   [complaint] would not have been sufficient.” Id. at 1322.
          Just as in Florida Cement, what is missing here—across all of the IPPs’ claims—is any
   “factual content that allows the court to draw the reasonable inference the Defendants’
   conspiracy caused any injury to these Plaintiffs[.]” Id. Without such content, the IPPs fall far
   short of stating a claim under the Clayton Act or any of the state laws they are seeking to
   enforce, and Counts I-XXXVII should be dismissed.
                  2.      The IPPs Do Not Plausibly Allege That They Are Efficient Enforcers of
                          the Antitrust Laws Under the AGC Factors In Many States
          The IPPs further fail to satisfy many states’ more stringent antitrust standing
   requirements because they do not plausibly allege that they are efficient enforcers of the antitrust
   laws. Specifically, Counts III, V, X, XI-XIV, XVI, XVIII-XIX, XXI-XXII, XXIV-XXX, and
   XXXII should be dismissed.
          In Associated General Contractors of California, Inc. v. California State Council of
   Carpenters (“AGC”), 459 U.S. 519 (1983), the Supreme Court limited who may sue for alleged
   federal antitrust violations to “efficient enforcers”—those who have been directly and concretely
   injured by an alleged antitrust violation. “[L]ower federal courts have been virtually unanimous
   in concluding that Congress did not intend the antitrust laws to provide a remedy in damages for
   all injuries that might conceivably be traced to an antitrust violation.” Id. at 534.
          In the Eleventh Circuit, courts evaluate six factors to determine whether an antitrust


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   plaintiff is proper under AGC: “(1) whether the plaintiff has suffered a direct injury; (2) whether
   its injury is remote; (3) whether other plaintiffs are better suited to bring the suit; (4) whether the
   plaintiff’s injuries are speculative; (5) whether the calculation of damages would be complex and
   run the risk of duplicative recoveries; and (6) whether the plaintiff could enforce the court’s
   judgment.” Duty Free Ams., Inc. v. Estee Lauder Cos., 797 F.3d 1248, 1273 n.5 (11th Cir. 2015)
   (citing Sunbeam Television Corp. v. Nielsen Media Rsch., Inc., 711 F.3d 1264, 1271 (11th Cir.
   2013)). In practice, this means that jurisdictions applying AGC have barred indirect purchaser
   claims on the grounds that—compared to direct purchaser claims—they are too indirect and
   remote. See, e.g., In re Keurig Green Mountain Single-Serve Coffee Antitrust Litig., 383 F.
   Supp. 3d 187, 260-64 (S.D.N.Y. 2019) (dismissing state antitrust claims for all states in which
   AGC was found to be applicable). Nineteen of the states for which the IPPs seek to assert claims
   on behalf of Plaintiffs apply AGC’s requirements.
           The highest courts in Iowa and Nebraska have expressly adopted AGC. Southard v. Visa
   U.S.A. Inc., 734 N.W.2d 192, 198 (Iowa 2007) (“[W]e apply the AGC factors to determine
   whether the plaintiffs may recover under Iowa law.”); Kanne v. Visa U.S.A. Inc., 723 N.W.2d
   293, 299 (Neb. 2006) (“[A]ppellants lack standing under Associated General Contractors[.]”).
   In numerous other states, intermediate state appellate courts and federal courts applying state
   antitrust laws have likewise applied AGC and determined that indirect purchasers are improper
   plaintiffs. These states, as illustrated further in Exhibit I, are Arizona, California, Illinois,
   Kansas, Maine, Michigan, Mississippi, Missouri, Nevada, New Hampshire, New Mexico, New
   York, North Carolina, North Dakota, Oregon, Rhode Island, and South Dakota.
           The IPPs fail the AGC test for all jurisdictions in which it applies. First, Plaintiffs cannot
   satisfy the first, second, and fourth AGC factors because their injuries are—by definition—
   indirect, remote, and speculative. To start, their “conclusory allegations fail to describe with
   sufficient factual detail the chain of distribution between [Defendants] and the IPPs, leaving
   numerous questions unanswered.” In re Keurig, 387 F. Supp. 3d at 224. The IPPs fail to allege
   anything about: (1) where they purchased salmon, (2) when they purchased salmon, (3) from
   whom they purchased salmon, (4) whether there are any other supply chain intermediaries
   between the IPPs’ suppliers and Defendants, (5) whether any purported overcharge on the
   salmon was passed on to them, and (6) whether they absorbed the purported overcharge. (See
   SAC ¶¶ 18-28.) In fact, despite purporting to represent classes of indirect purchasers of salmon



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   at artificially elevated prices, the SAC does not contain any allegations about the prices (retail or
   otherwise) paid by any named plaintiff. And the IPPs provide only four conclusory paragraphs
   of allegations regarding how they were purportedly harmed by Defendants’ alleged conspiracy.
   (See id. ¶¶ 273-76.)
          Barebones allegations of injury cannot support antitrust standing for the IPPs that
   purchased unspecified salmon products from unspecified third parties, presumably through a
   variety of supply chains. See Duty Free Ams., 797 F.3d at 1273 (affirming dismissal noting that
   “a plaintiff who has suffered only indirect injury, or who alleges speculative damages, may lack
   antitrust standing to seek [even] an injunction”); Palmyra Park Hosp., Inc. v. Phoebe Putney
   Mem’l Hosp., Inc., No. 08-102, 2009 WL 10673436, at *11 (M.D. Ga. Mar. 31, 2009) (applying
   AGC and holding “that Plaintiff is not an efficient enforcer of the antitrust laws” given the
   indirect, remote, and highly speculative claims).
          The court’s reasoning under Florida Cement that threadbare allegations cannot support a
   plausible inference of injury and proximate harm applies forcefully here, especially given that
   the IPPs’ own allegations underscore the speculative nature of their claims. For example, a chart
   cited in the SAC shows that salmon prices decreased at various points during the alleged
   conspiracy period, including after the creation of the NASDAQ Salmon index in 2013, which the
   IPPs allege coincides with the beginning of the price-fixing conspiracy. (SAC ¶ 139.) The SAC
   also cites multiple sources confirming that many factors affect the price of salmon—including
   environmental factors such as sea lice and algae, water temperatures, and demand.7 The IPPs
   proffer no coherent theory as to how overcharges were allegedly passed onto them through the
   distribution chain over a seven-year period during which salmon prices admittedly fluctuated up
   and down based on many different factors. See, e.g., Ginsburg v. InBev NV/SA, 623 F.3d 1229,
   1235 (8th Cir. 2010) (finding allegations of “higher retail beer prices” “speculative” where beer


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      E.g., Trond Davidson, Int’l Salmon Farmers Ass’n, Producing Healthy Sustainable Food for
   the World, Speech at the Aquaculture & Cold Harvest Conference (Sept. 20, 2016),
   http://www.salmonfarming.org/producing-healthy-sustainable-food-for-the-world, at 4 (quoted at
   SAC ¶¶ 193-94); SalMar ASA Annual Report 2017, at 51, https://hugin.info/138695/R/2188425/
   846513.pdf (quoted at SAC ¶ 64). Defendants are entitled to rely on these and the other sources
   “referenced in the complaint, from which . . . truncated quotations [are] drawn.” Bell Atl. Corp.
   v. Twombly, 550 U.S. 544, 568 n.13 (2007); see also McClure v. Oasis Outsourcing II, Inc., 674
   F. App’x 873, 875-76 (11th Cir. 2016) (court did not err in considering exhibits “incorporated
   into” the pleadings).


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   was sold through a complex distribution system).8 Moreover, the fluctuating prices alleged in
   the SAC are not even those that were paid by the IPPs but by those further up the supply chain.
          Plaintiffs also flunk the third AGC factor—whether other plaintiffs are better suited to
   enforce the antitrust laws. Here, DPPs can (and have) brought separate claims. See In re: Farm-
   Raised Salmon & Salmon Prods. Antitrust Litig., Case No. 19-21551-Civ-Altonaga/Louis.9 The
   specter of duplicative recovery looms large here, as the plaintiffs in In re: Farm-Raised Salmon
   have brought identical claims seeking the entirety of an alleged, anticompetitive overcharge
   under federal law. E.g., Campos v. Ticketmaster Corp., 140 F.3d 1166, 1169-71 (8th Cir. 1998)
   (affirming dismissal of indirect purchaser claims in part due to the risk of duplicative recovery).
          Finally, awarding damages to the IPPs would require complex apportionment of damages
   between the indirect and direct purchasers under state law, where Defendants have a right to
   assert a defense that any price increases were passed through to the IPPs’ customers. Based on
   these factors, numerous courts have held that indirect purchaser plaintiffs lack antitrust standing.
   See, e.g., In re Dynamic Random Access Memory (DRAM) Antitrust Litig., 516 F. Supp. 2d at
   1094-95 (finding “that antitrust standing is lacking with respect to the thirteen remaining state
   law claims”); see also In re Keurig, 383 F. Supp. 3d at 260-64 (dismissing state antitrust claims
   for all states in which AGC was found to be applicable); Oliver v. Am. Express Co., No. 19-CV-
   566 (NGG) (SMG), 2020 WL 2079510, at *13-14 (E.D.N.Y. Apr. 30, 2020) (same).
   Accordingly, the IPPs’ claims under the antitrust laws of those states, reflected in Counts III, V,
   X, XI-XIV, XVI, XVIII-XIX, XXI-XXII, XXIV-XXX, and XXXII, should be dismissed.




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      See also In re Keurig, 383 F. Supp. 3d at 224 (dismissing indirect purchaser claims “because
   the claimed damages are too indirect and may have been produced by factors independent from
   any alleged overcharge”); In re Dynamic Random Access Memory (DRAM) Antitrust Litig., 516
   F. Supp. 2d 1072, 1094-95 (N.D. Cal. 2007) (dismissing indirect purchaser claims where many
   factors “collectively determine the final price actually paid by plaintiffs for the final product”)
   (emphasis in original).
   9
      See also In re Keurig, 383 F. Supp. 3d at 223 (dismissing indirect purchaser claims where
   “there are alternative enforcers that are better situated to bring suit, and have brought suit”); In re
   Aluminum Warehousing Antitrust Litig., No. 13-MD-2481 KBF, 2014 WL 4277510, at *23
   (S.D.N.Y. Aug. 29, 2014) (dismissing indirect purchaser claims where “upstream plaintiffs
   would be more closely positioned to industry dynamics and therefore arrive at relief that might
   better address any unlawful conduct, and in the process, prevent harm from flowing
   downstream”).


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          B.      All IPPs Lack Article III Standing Because They Have Not Plausibly Alleged
                  Injury-In-Fact, Causation, or Damages
          The IPPs also fail to plausibly allege Article III standing for any of their claims (Counts
   I-XXXVII). To establish Article III standing: (1) “a [P]laintiff must allege that he suffered an
   ‘injury in fact’ that is ‘concrete and particularized’ and ‘actual or imminent’”; (2) the injury
   “must be ‘fairly traceable to the challenged action of the defendant’”; and (3) “it must be
   ‘likely … that the injury will be redressed by a favorable decision.’” Cordoba v. DIRECTV,
   LLC, 942 F.3d 1259, 1268 (11th Cir. 2019) (quoting Lujan v. Defs. of Wildlife, 504 U.S. 555,
   560-61 (1992)). When the claim involves injunctive relief, there is an additional requirement:
   standing exists “only if the party alleges, and ultimately proves, a real and immediate—as
   opposed to a merely conjectural or hypothetical—threat of future injury.” Duty Free Ams., 797
   F.3d at 1271. At the pleading stage, Plaintiffs “b[ear] the burden of alleging facts that plausibly
   establish their standing.” Trichell v. Midland Credit Mgmt., Inc., 964 F.3d 990, 996 (11th Cir.
   2020). In pleading injury-in-fact, “mere conclusory statements do not suffice.” Tsao v. Captiva
   MVP Restaurant Partners, LLC, 986 F.3d 1332, 1338 (11th Cir. 2021) (quoting Ashcroft v.
   Iqbal, 556 U.S. 662, 678 (2009)).
          The IPPs have failed to plausibly allege (1) an injury-in-fact that satisfies Article III
   requirements, (2) facts sufficient to show their purported injury-in-fact is fairly traceable to
   Defendants’ alleged conduct, or (3) facts showing a concrete and imminent future injury.
                  1.      The IPPs Lack Article III Standing Because They Have Not Alleged Any
                          Injury-in-Fact That is Concrete, Particularized, and Not Hypothetical
          First, the IPPs have failed to allege that their purported injuries are concrete and
   particularized. As noted, the IPPs allege only that each named plaintiff “purchased farm-raised
   salmon indirectly from one or more of the Defendants and has suffered monetary loss as a result
   of the antitrust violations alleged herein.” (SAC ¶¶ 18-28.) The IPPs’ only other “injury”
   allegations are four perfunctory paragraphs alleging generally that the alleged conspiracy raised
   prices. (Id. ¶¶ 273-276.) These allegations fall far short of the “concrete and particularized”
   requirement. Lujan, 504 U.S. 555 at 560; see also Muransky v. Godiva Chocolatier, Inc., 979
   F.3d 917, 924-25 (11th Cir. 2020) (litigants must “clearly and specifically set forth facts to
   satisfy the requirements of Article III,” including injury-in-fact) (emphasis added).
          Second, the IPPs fail to allege that their claimed injuries are anything more than
   hypothetical. Even assuming prices were artificially raised for the DPPs, the IPPs have not


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   alleged that such increases were subsequently passed on to them, or how. (See generally, SAC
   ¶¶ 18-28, 273-276.) By failing to allege a pass-on mechanism, the IPPs ask the Court to assume
   that their purported injury has occurred, rather than including well-pled facts suggesting that it
   did occur. At best, the IPPs’ theory of harm is purely academic, which cannot establish standing.
   See, e.g., Trichell, 964 F.3d at 996 (holding that plaintiffs “b[ear] the burden of alleging facts
   that plausibly establish their standing”); Taggart v. Colonial Hotel, Inc., No. 06-80018-CIV-
   WJZ, 2007 WL 9702259, at *2 (S.D. Fla. Oct. 29, 2007) (“Standing requires a factual showing
   of perceptible harm, and is not an ingenious academic exercise in the conceivable.”).10
          Third, nowhere do the IPPs provide facts showing that the alleged conspiracy presents a
   real and immediate threat of future injury, as necessary to demonstrate standing to bring their
   claim for injunctive relief under the Sherman Act (Count I). See Crosby v. Hosp. Auth. of
   Valdosta & Lowndes Cty., 93 F.3d 1515, 1533 (11th Cir. 1996) (“Because injunctive relief is
   prospective, a party seeking an injunction must show a threat of future injury.”); Snyder v. Green
   Roads of Fla. LLC, 430 F. Supp. 3d 1297, 1304 (S.D. Fla. 2020) (“In addition to past injury, a
   plaintiff seeking injunctive relief must show a sufficient likelihood that [she] will be affected by
   the allegedly unlawful conduct in the future,” i.e. “that the injury is certainly impending.”).
   Instead, the IPPs merely recite that the inadequately alleged past injuries will continue if the
   alleged conspiracy is not enjoined. (SAC ¶ 283.)
                  2.      The IPPs Lack Article III Standing Because They Have Not Alleged That
                          Their Purported Injury Is “Fairly Traceable” to Defendants’ Conduct
          The IPPs also fail to allege facts plausibly suggesting that their purported injuries are
   fairly traceable to Defendants’ alleged conduct. To satisfy this requirement, “the line of
   causation” between the alleged conduct and the injury cannot be “too attenuated.” Debernardis
   v. IQ Formulations, LLC, 942 F.3d 1076, 1088-89 (11th Cir. 2019). The IPPs must thus trace the


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       The IPPs’ discussion of general economic theory, see SAC ¶¶ 247-251, does not save their
   claims. The standing inquiry’s purpose is to determine whether these plaintiffs suffered injury,
   not whether injury may have been suffered by someone. “The standing inquiry is both plaintiff-
   specific and claim-specific. Thus, a reviewing court must determine whether each particular
   plaintiff is entitled to have a federal court adjudicate each particular claim that he asserts.” Ford
   v. Strange, 580 F. App’x 701, 708 (11th Cir. 2014) (emphasis added); see also Daimler Chrysler
   Corp. v. Cuno, 547 U.S. 332, 352 (2006) (each plaintiff “must demonstrate standing for each
   claim he seeks to press” and “must demonstrate standing separately for each form of relief
   sought”).


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   flow of salmon from the Defendants to each named plaintiff. Cf. id. (indirect purchasers satisfied
   Article III by, inter alia, tracing the flow of products from the manufacturer to each plaintiff).
          The IPPs fail to plead facts on traceability—while alleging that most farm-raised salmon
   sold in North America originated from non-Defendant producers, the IPPs do not even explain
   which Defendants they indirectly purchased salmon from, which of Defendants’ customers they
   purchased salmon from, or when they made those purchases. (SAC ¶¶ 18-28.) Moreover, the
   SAC implicates not only farm-raised salmon, but all of the myriad unspecified products that are
   “derived” from farm-raised salmon. Yet the IPPs offer no clue as to what each Plaintiff bought
   or how alleged overcharges from Defendants’ conduct can be traced through the supply chain to
   each of those products, especially given their allegations that wholesale prices fluctuate due to
   many factors and even trended downward for the first few years of the alleged conspiracy.
   Supra at 2, § II.A.2. The IPPs’ claims (Counts I-XXXVII) should thus be dismissed. See, e.g.,
   Jones v. Micron Tech., Inc., 400 F. Supp. 3d 897, 907-08 (N.D. Cal. 2019) (“[I]ndirect purchaser
   complaints must include allegations (i) defendants overcharged direct purchasers and (ii) some or
   all of that overcharge was passed on to indirect purchasers through each of the various
   intermediate levels of the distribution chain … This Plaintiffs have failed to do.”).
          C.      The IPPs’ Claims Are Barred in Massachusetts, Montana, and Partially
                  Barred in Rhode Island Under the Illinois Brick Doctrine
          Even assuming that the SAC satisfies antitrust and Article III standing requirements,
   Counts XV, XX, and XXX should be dismissed for failing to plausibly allege that the IPPs’
   claims survive Illinois Brick rules in three states. See Austin v. Blue Cross & Blue Shield of Ala.,
   903 F.2d 1385, 1389 (11th Cir. 1990) (dismissing antitrust claims on, inter alia, Illinois Brick
   grounds, where the causal connections were “indirect and collateral”).
          The IPPs bring their damages claims under state law because federal law precludes
   recoveries by indirect purchasers in antitrust suits. In Illinois Brick Co. v. Illinois, 431 U.S. 720
   (1977), the Supreme Court held that only direct purchasers may recover damages under federal
   antitrust law. Indirect purchasers—like Plaintiffs here—can only recover where permitted under
   state law. California v. ARC Am. Corp., 490 U.S. 93, 98 (1989). However, many states have
   explicitly adopted Illinois Brick. Therefore, Counts XV, XX, and XXX fail.
          Massachusetts: Massachusetts follows Illinois Brick. See In re Cathode Ray Tube
   (CRT) Antitrust Litig., No. C 07-5944 SC, 2014 WL 1088256, at *3 (N.D. Cal. Mar. 13, 2014)
   (“[A] corporation engaged in commerce whose suit is based on indirect purchases will not have


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   standing” under Massachusetts law.). “The Massachusetts Antitrust Act is ‘construed in
   harmony with judicial interpretations of comparable Federal antitrust statutes,’ and thus ‘the rule
   of law established in Illinois Brick’ applies.” In re Aggrenox Antitrust Litig., 3:14-MD-2516
   (SRU), 2016 WL 4204478, at *8 (D. Conn. Aug. 9, 2016) (citing Ciardi v. F. Hoffmann-La
   Roche, Ltd., 436 Mass. 53, 57–58 (2002)). Therefore, all claims under Count XV must be
   dismissed.11
          Montana: Montana’s antitrust laws are also modeled on and interpreted consistent with
   the Sherman Act, including adherence to Illinois Brick. See In re TFT-LCD (Flat Panel)
   Antitrust Litig., 599 F. Supp. 2d 1179, 1186-87 (N.D. Cal. 2009) (finding that the Montana
   Supreme Court would not permit indirect purchaser claims based on Illinois Brick) (citing Smith
   v. Video Lottery Consultants, Inc., 858 P.2d 11 (Mont. 1993)). Therefore, all claims under Count
   XX must be dismissed.
          Rhode Island: Finally, claims based on Rhode Island law are barred prior to July 15,
   2013, the date Rhode Island’s repeal of Illinois Brick became effective. See In re Loestrin 24 FE
   Antitrust Litig., 410 F. Supp. 3d 352, 374 (D.R.I. 2019) (“Recovery under the Rhode Island
   Antitrust Act is limited to damages incurred after July 15, 2013”); In re Niaspan Antitrust Litig.,
   42 F. Supp. 3d 735, 759 (E.D. Pa. 2014) (concluding that indirect purchasers may not recover for
   overcharges incurred before Rhode Island’s repealer statute took effect). Therefore, all claims
   under Count XXX for damages prior to July 15, 2013 must be dismissed.
   III.   MANY OF THE IPPS’ CLAIMS SHOULD BE DISMISSED FOR FAILURE TO ALLEGE
          STATUTORY STANDING REQUIREMENTS OR FOR OTHER STATE-SPECIFIC REASONS
          The IPPs also fail to show that they have standing under state law (as opposed to Article
   III) or otherwise fail to meet unique statutory requirements in at least nine jurisdictions. This
   failure warrants dismissal of all claims asserted on behalf of Plaintiffs from the following states


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       The IPPs do not specify whether their claim arises under Section 9 or Section 11 of the
   Massachusetts Antitrust Act. (SAC ¶¶ 394-403.) As the In re Aggrenox court explained, Section
   11 is applicable for entities engaged commerce, such as the IPPs. In re Aggrenox Antitrust Litig.,
   2016 WL 4204478, at *8. Section 11 is construed in harmony with the Sherman Act, including
   the Illinois Brick doctrine. Id. at *8-9. Section 9 does not include an Illinois Brick rule, but
   requires that the plaintiff be a consumer, not a reseller. See infra § III.A. The two sections are
   binary. See In re Loestrin 24 FE Antitrust Litig., 410 F. Supp. 3d 352, 373 (D.R.I. Oct. 17,
   2019). The IPPs therefore cannot mix-and-match the sections to achieve a viable claim. Under
   either, they fail.


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   and territories: California, Guam, Hawaii, Illinois, Massachusetts, Missouri, Montana, Nevada,
   and Vermont. (Counts V, VIII, IX, XI, XV, XIX, XX, XXIII, and XXXV.)
          First, the IPPs’ consumer protection claims under the laws of Massachusetts, Missouri,
   Montana, and Vermont must be dismissed because the IPPs and their putative class members are
   resellers, and resellers do not have statutory standing under these states’ consumer protection
   laws. Second, the IPPs’ claims under Hawaii state law must be dismissed because Hawaii law
   requires the plaintiff to be a consumer, not a business, or else requires that the attorney general
   declined to pursue the relevant claims. Third, the IPPs’ claims under Nevada state law must be
   dismissed because Nevada state law requires the plaintiff to be elderly or disabled, and the IPPs
   have not alleged that they are elderly or disabled. Fourth, the IPPs’ claims under California’s
   Unfair Competition Law must be dismissed because that statute does not permit the recovery of
   damages. Fifth, the IPPs’ claims under Illinois state law must be dismissed because Illinois does
   not permit plaintiffs to restyle their antitrust claims as consumer protections claims.
          A.      Resellers Are Barred From Asserting Consumer Protection Claims in Four
                  States
          The IPPs purport to represent resellers of salmon, not end user consumers. (See, e.g.,
   SAC ¶ 259 (m) (“Massachusetts class: All persons and entities who indirectly purchased, for
   resale . . .”) (emphasis added), (q) (same for Missouri), (r) (same for Montana), (ff) (same for
   Vermont).) Under the law of four states—Massachusetts, Missouri, Montana, and Vermont—the
   IPPs lack statutory standing to assert their claims.
          Resellers do not have a cause of action under the consumer protection laws of
   Massachusetts, Missouri, Montana, or Vermont. See In re Loestrin, 410 F. Supp. 3d at 373
   (citing Ciardi v. F. Hoffmann-La Roche, Ltd., 762 N.E.2d 303, 308, 311 (Mass. 2002)) (Section
   9 of the Massachusetts Consumer Protection Law affords no relief to persons engaged in trade or
   commerce); In re Actimmune Mktg. Litig., No. C 08-02376 MHP, 2010 WL 3463491, at *12
   (N.D. Cal. Sept. 1, 2010) (dismissing Missouri Merchandising Practices claim where purchases
   were for a business purpose); accord In re Takata Airbag Prods Liab Litig., 464 F. Supp. 3d
   1291, 1311 (S.D. Fla. 2020); Mont. Code §§ 30-14-133, 30-14-102 (only Montana “consumers”
   who purchase goods “primarily for personal, family, or household purposes” may bring




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   claims);12 New England Surfaces v. E.I. Du Pont De Nemours and Co., 460 F. Supp. 2d 153, 162
   (D. Me. 2006) (“Both the Act and the Supreme Court of Vermont have made clear that a person
   (or business) who purchases goods for resale is not a member of the class protected by the
   [Vermont CFA] statute.”). Because the IPPs profess to be resellers only, claims under these
   states’ consumer protection laws must be dismissed.
          B.      Hawaii Only Permits Claims Brought by Consumers or Declined by the
                  Attorney General
          Plaintiffs also purport to bring claims under Hawaii Rev. Stat. §§ 480 et seq. (Count IX.)
   That statute prohibits (1) “unfair methods of competition” and (2) “unfair or deceptive acts or
   practices.” Hawaii Rev. Stat. § 480–2(a), (d) and (e). The IPPs cannot pursue a claim based on
   “unfair methods of competition” because they can only proceed with such a claim if the attorney
   general declines to pursue the action. See In re Flash Memory Antitrust Litig., 643 F. Supp. 2d
   1133, 1158 (N.D. Cal. 2009) (noting unfair competition notification requirements).13 To the
   extent Plaintiffs are relying on the “unfair and deceptive acts” provision, those claims must also
   be dismissed because the IPPs are resellers. Like the statutes of the four states discussed above,
   only consumers have a private right of action for unfair or deceptive practices, not resellers.
   Haw. Rev. Stat. § 480-2(d) (“No person other than a consumer, the attorney general or the
   director of the office of consumer protection may bring an action based upon unfair or deceptive
   acts or practices declared unlawful by this section.”); see also § 480-1 (“‘Consumer’ means a
   natural person who, primarily for personal, family, or household purposes, purchases, attempts to
   purchase, or is solicited to purchase goods or services or who commits money, property, or
   services in a personal investment.”). Therefore, Count IX must be dismissed.
          C.      Only the Elderly and Disabled Have Standing Under Nevada’s Deceptive
                  Trade Practices Act
          The IPPs’ claims under the Nevada Deceptive Trade Practices Act (“NDTPA”) must also
   be dismissed. (Count XXIII.) By its express terms, private actions may be commenced under
   the NDTPA only by “an elderly person or a person with a disability.” Nev. Rev. Stat.

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       Accord Sergeants Benevolent Ass’n Health & Welfare Fund v. Actavis, PLC, No. 15 CIV.
   6549 (CM), 2018 WL 7197233, at *46 (S.D.N.Y. Dec. 26, 2018) (dismissing Montana claims for
   resellers).
   13
      Section 480-13.3 provides detailed requirements for notifying the Hawaii attorney general
   before a private class action can proceed, and the IPPs have not pled that they complied with any
   of those notice requirements.


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   §§ 598.0903, 598.0977; see In re Chocolate Confectionary Antitrust Litig., 749 F. Supp. 2d 224,
   234 (M.D. Pa. 2010) (dismissing NDTPA claim where Nevada class plaintiffs “[were] not
   alleged to be either elderly or disabled”); In re Wellbutrin XL Antitrust Litig., 260 F.R.D. 143,
   163-64 (E.D. Pa. 2009) (dismissing NDTPA claims for lack of standing when named plaintiffs
   were neither “elderly” nor “disabled”). The IPPs do not claim to be elderly or disabled
   individuals within the scope of the NDTPA’s authorization of private actions. Therefore, Count
   XXIII must be dismissed.
          D.      The IPPs Cannot Pursue a Claim For Damages Under California’s Unfair
                  Competition Law
          The IPPs’ California consumer protection and antitrust claims should be dismissed for
   lack of allegations demonstrating injury, proximate cause, antitrust standing, or even Article III
   standing. Supra § II.A-B. Moreover, while it is not clear whether Plaintiffs are seeking to bring
   a claim under California’s Unfair Competition Law, Cal. Bus. & Prof. Code § 17200 (“UCL”),14
   to the extent Plaintiffs are seeking to bring a claim under the UCL it should be dismissed as to
   damages sought thereunder. Plaintiffs are “limited to injunctive relief and restitution” under the
   UCL and “may not receive damages, much less treble damages, or attorney fees.” Cal-Tech
   Comms., Inc. v. L.A. Cellular Tel. Co., 20 Cal. 4th 163, 179 (Cal. 1999) (emphasis in original);
   see also In re Takata Airbag Prods. Liab. Litig., 464 F. Supp. 3d at 1311 (dismissing California
   consumer protection claim for damages). Given this lack of specificity in pleading and the IPPs’
   inability to seek damages under section 17200, their remaining California UCL claims under
   Count V. should be dismissed.
          E.      Alleged Price Fixing Does Not Give Rise to a Consumer Protection Claim
                  Under Illinois Law
          The IPPs’ Illinois consumer protection claims (Count XI) should be dismissed because
   the Supreme Court of Illinois has held that the Illinois Consumer Fraud and Deceptive Business
   Practices Act (“ICFA”) is not “designed to be an additional antitrust enforcement mechanism.”
   Laughlin v. Evanston Hosp., 550 N.E.2d 986, 993 (Ill. 1990). “Classic” antitrust claims, such as
   price fixing, “must be brought under the [Illinois] Antitrust Act and not the [Illinois] Consumer
   Fraud Act.” Gaebler v. N.M. Potash Corp., 676 N.E.2d 228, 230 (Ill. App. Ct. 1996) (affirming

   14
      The IPPs nominally allege that Defendants’ conduct violated Cal. Bus. & Prof. Code § 17200
   (SAC ¶ 313) but seemingly only assert claims (and seek damages and attorneys’ fees) under the
   separate antitrust sections 16729 and 16750. (SAC heading for Count V, id. at ¶¶ 315-20.)


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   dismissal of the indirect purchaser plaintiffs’ ICFA claim based on the defendants’ alleged
   conspiracy to fix, maintain or stabilize the price of potash). Here, the IPPs’ claim under the
   ICFA is based on an alleged conspiracy by Defendants to control, fix or maintain prices of farm-
   raised salmon. (SAC ¶¶ 364-65.) As such, the court should dismiss the IPPs’ ICFA claim.
          F.      Only Courts In Guam Have Jurisdiction Over The Claims Based On Guam
                  Law
          Finally, the IPPs purport to assert claims on behalf of resellers under Guam Code § 69.10,
   et seq. (Count VIII.) However, this Court lacks jurisdiction over such claims, which must be
   brought in Guam Superior Court or the U.S. District Court in Guam. See Guam Code § 69.32
   (“An action for violation of this chapter shall may [sic] be brought in the Superior Court of
   Guam by any person or by the Attorney General in the name of the people of Guam, or, if the
   District Court of Guam has jurisdiction, it may be brought in the District Court of Guam.”)
   Plaintiffs do not allege any basis for their claims based on the laws of Guam to proceed.
                                              CONCLUSION
          For the foregoing reasons, Defendants respectfully submit that the IPPs’ complaint
   should be dismissed:
          1. In full, for failure to plausibly allege Article III standing (see § II.B);
          2. In full, for failure to plausibly allege that their injuries were proximately caused by
             the alleged conspiracy (see II.A.1);
          3. As to Arizona, Arkansas, Guam, Hawaii, Illinois, Kansas, Michigan, Mississippi,
             Missouri, Montana, Nebraska, Nevada, New Hampshire, New Mexico, North Dakota,
             Oregon, Rhode Island, South Carolina, South Dakota, Tennessee, Utah, Vermont, and
             West Virginia (Counts III-IV, VIII-XI, XIII, XVI, XVIII-XXV, XXVIII-XXXV, and
             XXXVI), for failure to plausibly allege a named plaintiff from each state (see § I);
          4. As to Iowa, Nebraska, Arizona, California, Illinois, Kansas, Maine, Michigan,
             Mississippi, Missouri, Nevada, New Hampshire, New Mexico, New York, North
             Carolina, North Dakota, Oregon, Rhode Island, and South Dakota (Counts III, V, X,
             XI-XIV, XVI, XVIII-XIX, XXI-XXII, XXIV-XXX, and XXXII), for failure to
             plausibly allege antitrust standing for claims under these states’ laws (see § II.A.2);
          5. As to Massachusetts, Montana, and partially as to Rhode Island (Counts XV, XX, and
             XXX), for failure to plausibly allege an exception to those states’ Illinois Brick
             doctrines (see § II.C);
          6. As to Massachusetts, Missouri, Montana, and Vermont (Counts XV, XIX, XX, and
             XXXV), for failure to plausibly allege that the IPPs and their putative class members
             are not resellers (see § III.A);




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         7. As to Hawaii (Count IX) for failure to plausibly allege that the IPPs notified the
            state’s attorney general or that the IPPs and their putative class members are
            consumers (see § III.B);
         8. As to Nevada (Count XXIII) for failure to plausibly allege that the IPPs and their
            putative class members are elderly or disabled (see § III.C);
         9. As to the apparent California UCL claim (Count V) which does not permit damages
            claims (see § III.D);
         10. As to Illinois (Count XI) for failure to plausibly allege how the IPPs’ consumer
             protection claims are distinct from antitrust claims (see § III.E); and
         11. As to Guam, Count VIII, for failure to plausibly allege a jurisdictional basis over
             those claims (see § III.F).




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   Dated September 10, 2021

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                                              EXHIBIT I
              States Applying Associated General Contractors to State Antitrust Claims
                                                    Arizona
    Luscher v. Bayer A G, No. CV 2004-014835, 2005 WL 6959406, at *1-2 (Ariz. Super. Ct.
    Sept. 16, 2005) (applying AGC factors to dismiss Arizona state antitrust claims by indirect
    purchasers); In re Refrigerant Compressors Antitrust Litig., No. 2:09-MD-02042, 2013 WL
    1431756, at *10 (E.D. Mich. Apr. 9, 2013) (“[T]he Court concludes that the following
    jurisdictions apply the AGC test: Arizona ....”); In re DRAM Antitrust Litig., 516 F. Supp. 2d
    at 1095 (same). To the extent that Plaintiffs argue Keurig suggests AGC does not apply, they
    are incorrect. The court in Keurig is an outlier among both state and federal courts for holding
    the contrary.
                                                   California
    Vinci v. Waste Mgmt., Іпс., 36 Cal. App. 4th 1811, 1814 n.1 (Cal. Ct. App. 1995) (“[T]he
    California courts look to cases construing the federal antitrust laws for guidance in interpreting
    the Cartwright Act.”); In re Aluminum Warehousing Antitrust Litig., 2014 WL 4743425, at *3
    (finding California courts would dismiss Cartwright Act cases by applying AGC); In re
    Refrigerant Compressors Antitrust Litig., 2013 WL 1431756, at *10 ((“[T]he Court concludes
    that the following jurisdictions apply the AGC test: … California”); cf. Dang v. San
    Francisco Forty Niners, 964 F. Supp. 2d 1097, 1110 (N.D. Cal. 2013) (“[T]he Court finds that
    the AGC factors will be applied to Plaintiff’s state-based antitrust claims along with his claims
    predicated upon federal antitrust law.” Permitting claims to proceed given market-specific
    factual allegations of pass-through and clear traceability.).
                                                     Illinois
    O’Regan v. Arbitration Forums, Inc., 121 F.3d 1060, 1066 (7th Cir. 1997) (holding that
    Illinois would apply the federal antitrust standing rules to a claim under state antitrust laws).
                                                     Kansas
    In re DRAM Antitrust Litig., 516 F. Supp. 2d at 1094–95 (applying AGC factors to claims
    under Kansas’s antitrust statute); Orr v. Beamon, 77 F. Supp. 2d 1208, 1211 (D. Kan. 1999),
    aff’d sub nom. Orr v. BHR, Inc., 4 F. App’x 647 (10th Cir. 2001); In re Refrigerant
    Compressors Antitrust Litig., 2013 WL 1431756, at *10 (concluding that Kansas courts apply
    the AGC test). The Keurig court’s ruling that AGC does not apply is contrary to the majority
    rule in federal courts, as is its interpretation of Kansas’s Illinois Brick repealer as implicating
    AGC because the underlying purpose of AGC differs from Illinois Brick and Kansas has not
    statutorily repealed AGC.
                                                     Maine
    Knowles v. Visa U.S.A., Inc., No. CIV.A. CV-03-707, 2004 WL 2475284, at *5 (Me. Super.
    Ct. 2004) (“It is probable that the Maine Law Court, if presented with this issue, would look to
    the [AGC] factors in determining standing under Maine’s antitrust laws and would apply those
    factors except to the extent that those factors cannot be reconciled with the legislature’s
    adoption of the Illinois Brick repealer.”); In re DRAM Antitrust Litig., 516 F. Supp. 2d at 1094
    (applying the AGC factors under Maine state antitrust law).
                                                   Michigan
    Stark v. Visa U.S.A. Inc., No. 03–055030–CZ, 2004 WL 1879003, at *2-4 (Mich. Cir. Ct. July
    23, 2004) (applying AGC factors under Michigan state antitrust law); In re Keurig, 383 F.
    Supp. 3d at 260 (concluding “Michigan Supreme Court . . . would apply the AGC factors.”).


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                                              Mississippi
    Owens Corning v. R.J. Reynolds Tobacco Co., 868 So. 2d 331, 339 (Miss. 2004) (citing AGC
    favorably); In re Interior Molded Doors Antitrust Litig., No. 3:18-CV-00718-JAG, 2019 WL
    4478734, at *14-15 (E.D. Va. Sept. 18, 2019) (applying AGC to Mississippi state antitrust law
    claims); In re DRAM Antitrust Litig., 516 F. Supp. 2d at 1095 (same).

                                                  Missouri
    Duvall v. Silvers, Asher, Sher & McLaren, M.D.’s, 998 S.W.2d 821, 825 (Mo. Ct. App. 1999)
    (quoting AGC favorably).
                                                   Nevada
    Nev. Rev. Stat. Ann. § 598A.050 (“The provisions of this chapter shall be construed in
    harmony with prevailing judicial interpretations of the federal antitrust statutes.”); In re
    Keurig, 383 F. Supp. 3d at 264 (“Given the mandatory language of Nevada’s harmonization
    provision and the lack of any contravening state authority, I conclude that the Supreme Court
    of Nevada would apply the AGC factors in accordance with federal precedent.”).
                                              New Hampshire
    Minuteman, LLC v. Microsoft Corp., 795 A.2d 833, 838–40 (N.H. 2002); In re Keurig, 383 F.
    Supp. 3d at 263–64 (“[T]he New Hampshire Supreme Court expressly adopted the Illinois
    Brick rule against indirect purchaser suits in Minuteman”); Oliver v. Am. Express Co., No.
    19CV00566NGGSJB, 2021 WL 386749, at *4 (E.D.N.Y. Feb. 1, 2021) (“[I]n [Minuteman],
    the New Hampshire Supreme Court expressly adopted the Illinois Brick rule against indirect
    purchaser suits, holding that ‘it is sound to limit antitrust lawsuits to direct purchasers.’”).
                                                New Mexico
    Nass-Romero v. Visa U.S.A. Inc., 279 P.3d 772, 778-80 (N.M. Ct. App. 2012) (AGC factors
    apply under New Mexico antitrust statute); In re Keurig, 383 F. Supp. 3d at 260 (“As a result,
    I conclude that . . . the New Mexico Supreme Court would apply the AGC factors.”).
                                                 New York
    Oliver v. Am. Express Co., No. 19CV566NGGSMG, 2020 WL 2079510, at *14 (E.D.N.Y.
    Apr. 30, 2020) (citing X.L.O. Concrete Corp. v. Rivergate Corp, 634 N.E.2d 158, 161 (N.Y.
    1994)) (applying AGC to Donnelly Act claims); In re Keurig, 383 F. Supp. 3d at 260
    (dismissing the indirect purchasers’ Donnelly Act claim based on New York case law applying
    AGC); Gatt Commc’ns Inc. v. PMC Assocs., LLC, 711 F.3d 68, 81 (2d Cir. 2013) (“We see no
    reason . . . to interpret the Donnelly Act differently than the Sherman Act with regard to
    antitrust standing.”); Ho v. Visa U.S.A. Inc., 2004 WL 1118534, at *2–3 (N.Y. Sup. Ct. Apr.
    21, 2004) (dismissing the plaintiffs’ Donnelly Act claims by applying the AGC factors to
    determine antitrust standing), aff’d, 16 A.D.3d 256 (1st Dep’t 2005); cf. In re Interior Molded
    Doors, 2019 WL 4478734, at *16 (applying AGC to the plaintiffs’ New York claim based on
    Ho v. Visa U.S.A. Inc., but holding that the plaintiffs had standing under AGC).
                                              North Carolina
    Crouch v. Crompton Corp., No. 02 CVS 4375, 2004 WL 2414027, at *18-20 (N.C. Super. Ct.
    Oct. 26, 2004) (applying factors adapted from AGC); In re Interior Molded Doors , 2019 WL
    4478734, at *15 (applying the standing factors from Crouch).
                                               North Dakota
    Beckler v. Visa U.S.A., Inc., No. CIV. 09-04-C-00030, 2004 WL 2475100, at *4 (Dist. N.D.
    2004) (dismissing the plaintiffs’ claims under the NDUSAA for failure to “satisfy antitrust
    standing principles identified in Associated General Contractors”); In re Aftermarket Auto.


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    Lighting Prods. Antitrust Litig., No. 09 MDL 2007–GW(PJWx), 2009 WL 9502003, at *4–6
    (C.D. Cal. July 6, 2009) (concluding that North Dakota would apply AGC to determine
    standing under its antitrust law and dismissing plaintiffs’ claims); In re DRAM Antitrust Litig.,
    516 F. Supp. 2d at 1094–96 (applying AGC to dismiss the indirect plaintiffs’ North Dakota
    antitrust claims).
                                                   Oregon
    Oregon Laborers-Emps. Health & Welfare Tr. Fund v. Philip Morris, Inc., 17 F. Supp. 2d
    1170, 1176–78, 1176 n.2 (D. Or. 1998) (applying the AGC factors to the plaintiffs’ Oregon
    antitrust law claims and dismissing those claims), aff’d, 185 F.3d 957 (9th Cir. 1999).
                                               Rhode Island
    ERI Max Entm’t v. Streisand, 690 A.2d 1351, 1353 n.1 (R.I. 1997) (citing R.I. Gen. Law § 6-
    36-2(b) and holding that “federal cases interpreting parallel federal provisions are
    appropriately consulted in interpreting state antitrust laws”); Oliver, 2021 WL 386749, at *4
    (applying the AGC factors to the indirect purchasers’ Rhode Island antitrust claims and
    granting the defendants’ motion for judgment on the pleadings).
                                               South Dakota
    Byre v. City of Chamberlain, 362 N.W.2d 69, 74 (S.D. 1985) (“[G]reat weight should be given
    to the federal cases interpreting the federal [antitrust] statute.”); In re Keurig, 383 F. Supp. 3d
    at 261-62 (applying the AGC factors to dismiss the indirect purchaser plaintiffs’ South Dakota
    antitrust claim); Oliver, 2021 WL 386749, at *4 (applying the AGC factors and granting the
    defendants’ motion for judgment on the pleadings); In re Aftermarket Auto. Lighting Prods.,
    2009 WL 9502003, at *4–6 (concluding that South Dakota would apply AGC and dismissing
    the plaintiffs’ claims).




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